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                              Memorandum
                             U.S. Probation Office
                        Northern District of West Virginia

 To:    The Honorable Robert W. Trumble, United States Magistrate Judge
 From: Michael C. DeHaven, U. S. Probation Officer
 CC:    John C. Miller, Supervising U. S. Probation Officer
        Lara K. Omps-Botteicher, Assistant United States Attorney
        Barry P. Beck, Defense Counsel
 Date: March 2, 2018
 Re:    BIERMANN RUZ, Kenneth – 3:18MJ21-1


 On February 14, 2018, the above named defendant appeared before United States
 Magistrate Judge Robert W. Trumble, for a scheduled detention hearing. The
 defendant was granted release on bond, but was ordered to be held in the custody of
 the United States Marshals Service pending verification of installation of landline
 telephone service at his proposed residence.
 The probation office was able to verify installation of landline phone service at the
 defendant's residence on March 1, 2018, and notified the Court that the defendant had
 satisfied that requirement. That same date, the Court ordered the defendant to be
 released from Eastern Regional Jail at 9:00 a.m. on March 2, 2018.
 On March 2, 2018, prior to the defendant's release from custody, the probation office
 discovered that the defendant's landline phone service was not operating properly,
 apparently due to high winds overnight in the local community. The court was notified
 of the probation office's inability to place the defendant on location monitoring due to
 the disruption in his phone service.
 Immediately prior to the defendant's departure from the probation office at
 approximately 12:55 p.m. on March 2, 2018, this writer again called his landline
 telephone number. The line failed to ring. The defendant has been instructed to travel
 directly to and remain at his residence, barring a medical emergency, until his location
 monitoring equipment can be installed.
